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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION                                  JUN 16   PH   3:   52

UNITED STATES OF AMERICA,                       §         Cause No.:
                                                §                                 y_.
                                                §         INDICTMENT
                                                §
                                                          [Count 1: Conspiracy to Provide Material
                                                   §
                                                          Support to Terrorists, 18 U.S.0 § 2339A.J
                                                   §
Rahatui Ashikim Khan, alicia, "Rahat
Khan," a/k/a, "Authentic Tauheed 19,"
a/k/a, "AT 19."                                    §
                                                              A 1 4 CR 02 1 2                SS
THE GRAND JURY CHARGES:

                                       COUNT ONE
                    Conspiracy to Provide Material Support to Terrorists
                                    [18 U.S.C. § 2339A]

       Beginning in or about March of 2011, to in or about January 2012, in the Western District
of Texas and elsewhere, the Defendant,
       Rahatul Ashikim Khan, a/Ida, "Rahat Khan," a/Ida, "Authentic Tauheed 19," a/Ida, "ATI9,"

Co-conspirator #1, Co-conspirator #2 and others, known and unknown to the Grand Jury,
knowingly conspired, and agreed with each other to provide material support and resources, as that
term is defined in Title 18, United States Code,   §   233 9A(b)(1), including services and personnel,

knowing and intending that they were to be used in preparation for, and in carrying out the
violation of Title 18, United States Code, § 956(a)(1) and (2) (conspiracy to commit at a place
outside the United States an act that would constitute the offense of murder, kidnapping, or
maiming, if committed in the special maritime and territorial jurisdiction of the United States,
where one of the conspirators committed an act within the jurisdiction of the United States to effect
an object of the conspiracy), in violation of Title 18, United States Code,   §   2339A.
        Case 1:14-cr-00212-SS Document 9 Filed 06/18/14 Page 2 of 2



                                         A TRUE BILL.

                                            ORiGINAL SIGNATURE
                                          REDACTED PURSUANT TO
ROBERT PITMAN                            E-GOVERNMENT ACT OF 2002



    EG.Sop:
  Assistant United States Attorney
